AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Middle District
                                                   __________  District of
                                                                        ofTennessee
                                                                           __________

                  United States of America
                             v.                                     )
                                                                    )        Case No.    3:22-00282 Judge Richardson
                          Glen Casada                               )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Glen Casada                                                                                         ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
’                         ’ Superseding Indictment         ’ Information        ’ Superseding Information             ’ Complaint
’ Probation Violation Petition             ’ Supervised Release Violation Petition        ’ Violation Notice          ’ Order of the Court

This offense is briefly described as follows:
  18 USC 371 Conspiracy to commit Theft Concerning Programs Receiving Federal Funds, Bribery and Kickbacks
  Concerning Programs Receiving Federal Funds, and Honest Services Wire Fraud; 18 USC 666(a)(1)(A), 2 Theft
  Concerning Programs Receiving Federal Funds; 18 USC 666(a)(1)(B), 2 Bribery and Kickbacks Concerning Programs
  Receiving Federal Funds; 18 U.S.C. §§ 666(a)(2), 2 Bribery and Kickbacks Concerning Programs Receiving Federal
  Funds; 18 USC 1343, 1346 Honest Services Wire Fraud; 18 USC 1342 Use of a Fictitious Name to Carry Out A Fraud; 18
  USC 1956(h) Money Laundering Conspiracy; 18 USC 1956(a)(1)(B)(i) Money Laundering; 18 USC 1957, 2 Money
  Laundering

Date:         08/22/0202
                                                                                           Issuing officer’s signature

City and state:       Nashville, TN                                           Joyce A. Brooks, Criminal Docketing Supervisor
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title


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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):




          Print                       Save As...                                                                Reset



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